                                                                   Case 3:21-cv-03957-EMC Document 58 Filed 03/22/22 Page 1 of 2




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                                                                                     UNITED STATES DISTRICT COURT
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                                                                              FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                     13   STEVE MORALES, an individual; and         )          Case No.: 2:22-cv-00234-JAM-DB
                                                                                                    )
                                                          S.M., a minor, by and through their guardian
                                                     14                                             )
                                                          ad litem, WENDY CHAU;
                                                                        Plaintiff,                  )          NOTICE OF VOLUNTARY DISMISSAL
                                                     15                                             )          OF DEFENDANT JUSTICE OPERATING
                                                          v.                                        )          COMPANY, LLC. PURSUANT TO RULE
                                                     16                                             )          41 (a)(1)(A)(i)
                                                                                                    )
                                                     17   CITY AND COUNTY OF SAN
                                                                                                    )
                                                          FRANCISCO, a municipal corporation;       )
                                                     18   RUSSELL FONG, in his individual capacity )
                                                          as a law enforcement officer for the CITY )
                                                     19   OF SAN FRANCISCO; RYAN LAU, in his )
                                                          individual capacity as a law enforcement  )
                                                     20   officer for the CITY OF SAN               )
                                                          FRANCISCO; and DOES 1-50, inclusive. )
                                                     21   .                                         )
                                                                                                    )
                                                     22                   Defendants.               )
                                                     23
                                                                  PLEASE TAKE NOTICE that, pursuant to Rule 41, Plaintiffs are dismissing their action
                                                     24   against Defendant Justice Operating Company voluntarily, as no answer or summary judgment
                                                          motion has been filed. FRCP 41(a)(1)(A)(i) (a plaintiff may dismiss an action without a court
                                                     25   order by filing “a notice of dismissal before the opposing party serves either an answer or a
                                                          motion for summary judgment”).
                                                     26

                                                                                              NOTICE OF DISMISSAL
                                                                                              MORALES V. CCSF, et al.
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                                                                  Case 3:21-cv-03957-EMC Document 58 Filed 03/22/22 Page 2 of 2




                                                      1
                                                          Dated: March 22, 2022        Respectfully submitted,
                                                      2
                                                                                       /s/ Ty Clarke
                                                      3                                Ty Clarke
                                                                                       Attorney for Plaintiffs
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                                                                                       NOTICE OF DISMISSAL
                                                                                       MORALES V. CCSF, et al.
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